Case: 4:24-cv-01714-HEA       Doc. #: 1-2           Filed: 12/23/24    Page: 1 of 1 PageID #: 15




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
UNITED STATES OF AMERICA

                                           ,    )
                              plaintiff,        )
                                                )
               v.                               )      Case No.
$4,000,000.00 IN FUNDS TURNED OVER              )
BY BLACKFOREST REAL ESTATE, ET AL.
                                     ,          )
                            defendant.          )



                            ORIGINAL FILING FORM

THIS FORM MUST BE COMPLETED AND VERIFIED BY THE FILING PARTY WHEN
INITIATING A NEW CASE.


    THIS CAUSE, OR A SUBSTANTIALLY EQUIVALENT COMPLAINT, WAS

PREVIOUSLY FILED IN THIS COURT AS CASE NUMBER

AND ASSIGNED TO THE HONORABLE JUDGE                                                    .



✔NEITHER THIS CAUSE, NOR A SUBSTANTIALLY EQUIVALENT COMPLAINT,
PREVIOUSLY HAS BEEN FILED IN THIS COURT, AND THEREFORE MAY BE

OPENED AS AN ORIGINAL PROCEEDING.


The undersigned affirms that the information provided above is true and correct.



Date: 12/23/2024                               /S/ Stephen Casey

                                                          Signature of Filing Party
